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                                                          Jury Instructions

 United States District Court
 Eastern District of New York

 -----------------------------------X

 United States of America,

         - against -
                                              No. 23-cr-328 (S-1) (KAM)
 Tony Clanton,
      also known as “Tone,”

                   Defendant.

 -----------------------------------X




                             Jury Instructions




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                                INTRODUCTION

         Members of the jury, I told you at the start of trial that

 your primary duty during trial would be to pay attention to the

 evidence,     listen    carefully,     and   observe     each    witness     who

 testified.    It has been obvious to me and to counsel that you have

 faithfully    discharged    this     duty,   and   I   thank    you   for   your

 attentiveness and service.

         You are about to begin your final duty, which is to decide

 the facts in this case.      Now that you have heard all the evidence

 and each party’s closing argument, it is my duty to instruct you

 on the applicable law.       I ask that you pay close attention.               I

 will be as clear as possible.

         My instructions will be in three parts:

         First, I will state some general rules about your role and

 the way in which you are to review the evidence in this case.

         Second, I will instruct you on the particular crimes charged

 and the elements that the government must prove beyond a reasonable

 doubt with respect to each.

         Third, I will give you some general rules regarding your

 deliberations.

         Do not single out any one instruction I give you as alone

 stating the law.       Rather, you should consider these instructions

 as a whole when you retire to the jury room to deliberate on your

 verdict.

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                            I. GENERAL RULES OF LAW

 1. Role of the Court

         As I just mentioned, my duty at this point is to instruct you

 on the law.     It is your duty to accept those instructions of law

 and apply them to the facts as you determine them just as it has

 been my duty to preside over the trial and decide what testimony

 and evidence is relevant under the law for your consideration.

         On each of these legal matters you must take the law as I

 give it to you.      If any attorney or witness has stated a legal

 principle     different     from   any       that   I   state    to   you   in   my

 instructions, it is my instructions that you must follow.

         You should not, any of you, be concerned about the wisdom of

 any rule that I state.         Regardless of any opinion that you may

 have as to what the law may be or ought to be, it would violate

 your sworn duty to base a verdict upon any view of the law other

 than the one that I will give you.

         I remind you that you may only consider the evidence admitted

 at this trial and may not use any other information obtained

 outside the courtroom, including, but not limited to, what you may

 have heard or learned through training, experience, the media, or

 otherwise.

 2. Role of the Jury

         As jurors, you are the sole and exclusive judges of the facts.

 Your role is to pass upon the weight of the evidence, determine

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 the   credibility    of     witnesses,        resolve   any    conflicts       in   the

 witnesses’ testimony, and draw whatever reasonable inferences you

 decide to draw from the facts as you find them.

         In   determining    the   facts,       you   must     rely   on    your     own

 recollection of the evidence.        What the lawyers have said in their

 opening      statements,     in   their       closing    arguments,       in      their

 objections, or in their questions, is not evidence.                            Nor is

 anything I may have said during the trial or may say during these

 instructions with respect to a factual matter to be taken in

 substitution for your own independent recollection.                  What I say is

 not evidence

         Because you are the sole and exclusive judges of the facts,

 I do not mean to indicate any opinion as to the facts or what your

 verdict should be.         The rulings I have made during the trial are

 not any indication of my views of what your decision should be as

 to whether or not the government has proven its case.                     I also ask

 that you draw no inference from the fact that upon occasion I may

 have asked questions of certain witnesses.               I’ve done so with the

 intent only for clarification or to expedite matters, and certainly

 my questions were not intended to suggest any opinion on my part

 as to the verdict that you should render or whether any of the

 witnesses may have been more credible than other witnesses.                         You

 are expressly to understand that the court has no opinion as to

 any of the issues in this case or as to what verdict you should

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 reach in this case.

         I know that you will try the issues that have been presented

 to you according to the oath that each of you took at the beginning

 of this case, in which you promised that you would well and truly

 try this case, the issues joined in this case and render a true

 verdict.      If you follow that oath and try the issues without fear,

 favor, bias, prejudice, or sympathy, you will arrive at a true and

 just verdict.

 3. Equality of the Parties Before the Court1

         You are to perform the duty of finding the facts without bias

 or prejudice as to any party. You are to perform your final duty

 in an attitude of complete fairness and impartiality.

         The fact that the prosecution is brought in the name of the

 United States of America entitles the government to no greater

 consideration         than   that   accorded    to    any   other    party     to   a

 litigation.      By    the   same     token,   it    is   entitled   to   no    less

 consideration. All parties, whether government or individuals,

 stand as equals at the bar of justice.

 4. Presumption of Innocence and Burden of Proof2

         A word about the presumption of innocence and the burden of

 proof.



 1 Adapted from L. Sand, J. Siffert, W. Loughlin, S. Reiss, S. Allen, J. Rakoff
 and D. Epstein, Modern Federal Jury Instructions (“Sand”), Instr. 2-5.
 2   Adapted from Sand, Instrs. 4-1.

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         The defendant is before you today because he has been charged

 by indictment with violations of federal law.             The indictment is

 an accusation and nothing more. It is not evidence. The defendant

 has pleaded not guilty to the indictment.                 The defendant is

 therefore presumed to be innocent of the charges against him, and

 that     presumption   of    innocence    alone,   unless     overcome,      is

 sufficient to acquit him.

         To convict a defendant, the burden is on the prosecution or

 the government to prove the defendant’s guilt of each element of

 every charge beyond a reasonable doubt.        This burden of proof will

 never shift to the defendant for the simple reason that the law

 presumes that a defendant is innocent and never imposes upon a

 defendant in a criminal case the burden or duty of calling any

 witnesses or producing any evidence.        They do have the right to do

 so, however.     In other words, a defendant is never required to

 prove that he is innocent because his innocence is presumed.

         Again, I remind you, the defendant starts with a clean slate

 and is presumed innocent of each charge unless and until such time,

 if ever, that you as a jury unanimously find that the government

 has proven that the defendant is guilty of a given charge beyond

 a reasonable doubt.




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 5. Reasonable Doubt3

         What is a reasonable doubt?            It is a doubt based upon reason

 and common sense.        It is a doubt that a reasonable person has after

 carefully weighing all of the evidence or lack of evidence.                   Proof

 beyond a reasonable doubt, therefore, is proof of such a convincing

 character that a reasonable person would not hesitate to rely and

 act upon it in the most important of his or her own affairs.                      A

 reasonable doubt is not a caprice or a whim.                         It is not a

 speculation or suspicion.             It is not an excuse to avoid performing

 an unpleasant duty.            And it is not sympathy.         The law does not

 require that the government prove guilt beyond all possible doubt.

 Proof beyond a reasonable doubt is sufficient to convict.

         If after fair and impartial consideration of all the evidence

 or lack of evidence concerning a particular charge against the

 defendant, you have a reasonable doubt, it is your duty to acquit

 the defendant of that charge.              On the other hand, if after fair

 and impartial consideration of all the evidence you are satisfied

 that the government has proven the defendant’s guilt beyond a

 reasonable doubt, you should vote to convict him on that charge.

 6. Venue

         Venue   refers    to    the    location   of   a   charged   crime.     The

 indictment alleges that the crimes charged occurred in part in



 3   Adapted from Sand, Instr. 4-2.

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 this judicial district, the Eastern District of New York.                 The

 Eastern District of New York encompasses the boroughs of Brooklyn,

 Queens, and Staten Island, as well as Nassau and Suffolk Counties

 on Long Island.      To establish that venue for a charged crime is

 appropriate in this district, the government must prove that some

 act in furtherance of the crime occurred here.            This means that

 with respect to each of the crimes charged, venue is established

 in the Eastern District of New York so long as some act in

 furtherance of the crime took place in this district, even if other

 acts were committed outside the district or if the crime was

 completed elsewhere.

         Let me further instruct you that although the government’s

 burden as to everything else in this case is proof beyond a

 reasonable doubt, a standard that I have already explained to you,

 venue need only be proved by the lesser standard of preponderance

 of the evidence.      To prove something by a preponderance of the

 evidence simply means to prove that a fact is more likely true

 than not true.      That means that venue as to each of the charged

 crimes in this district is proper if you find it more likely than

 not that some act in furtherance of the particular crime charged

 occurred in the Eastern District based on all of the evidence

 presented, direct and circumstantial.         Again, this lesser burden

 of proof applies only to venue.        The government’s burden of proof

 on all other parts of this case is to prove guilt beyond a

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 reasonable doubt.

         In determining whether some act in furtherance of the charged

 crime you are considering occurred in this Eastern District of New

 York in regard to each of the offenses, you may consider several

 things,      such    as     (1) physical      presence,      (2) electronic

 communications, (3) phone calls, and (4) text messages.

         Again, I caution you that the preponderance of the evidence

 standard applies only to venue.        The government must prove each of

 the elements of all the charged offenses beyond a reasonable doubt.

 7. Types of Evidence4

         I will now remind and instruct you as to what is evidence and

 how you should consider it.

         A.   What Is Evidence

         First, what is evidence?     It comes to you in several forms:

         1.   Sworn testimony of witnesses, on both direct examination

              and cross-examination;

         2.   Exhibits, whether documents, photos, video surveillance

              tapes, or recordings that have been received by the court

              in evidence;

         3.   Certain exhibits admitted in evidence in the form of

              charts, summaries, and demonstratives may be considered

              for the purposes for which they have been offered.            You



 4 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),
 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order).

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              should      consider      these      charts,        summaries,       and

              demonstratives as you would any other evidence; and

         4.   Stipulations of fact to which the parties have agreed.

              A stipulation means simply that the government and the

              defendant accept the truth of a particular proposition

              or fact.      Here, the parties entered into stipulations

              concerning certain exhibits and facts that are relevant

              to this case.       You must accept those stipulations as

              evidence, and regard those facts as proven; however, you

              are to determine what weight to give that evidence.

         If evidence was received for a limited purpose, you must

 consider that evidence only for that limited purpose.

         B.   What Is Not Evidence

         Certain things are not evidence, and you must disregard them

 in deciding what the facts are:

         1.   The   indictment     is   not     evidence.    It     is   merely    the

              statement of charges against the defendant and is not

              entitled to any weight in your evaluation of the facts;

         2.   Arguments     or   statements      by   the    attorneys      are    not

              evidence;

         3.   Counsel’s     questions    in     and   of    themselves      are    not

              evidence. Only the answer in the context of the question

              is evidence.       And that also goes for any questions by

              the court or comments by the court;

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         4.    Objections to the questions or to offered exhibits are

               not evidence.   Attorneys have a duty to object when they

               believe evidence should not be received.       You should not

               be influenced by the objection or by the court’s ruling

               on it.      If the objection was sustained, ignore the

               question.    If the objection was overruled, treat the

               answer just as you would any other answer;

         5.    Any testimony or statements stricken by the court are

               not evidence;

         6.    Any exhibits identified but not admitted into evidence

               by the court are not evidence;

         7.    Any redacted portions of any exhibits are not themselves

               evidence, and you should not speculate as to why the

               exhibit was redacted and what might be contained in any

               redacted portions of an exhibit;

         8.    Obviously anything you may have seen or heard outside

               the courtroom is not evidence; and

         9.    Any notes you may have taken during the course of the

               trial are not evidence.

         10.   In reaching your verdict, it is improper for you to

               consider any personal feelings you might have about a

               defendant’s or a witness’s race, religion, national

               origin, ethnic background, sex, or age.

         11.   In addition, it would be improper for you to allow any

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                feelings you might have about the nature of the crimes

                charged to interfere with your decision-making process.

         Your verdict must be based exclusively on the evidence or the

 lack of evidence in this case.                   Here, again, let me remind you

 that whether based upon direct or circumstantial evidence, or upon

 the logical reasonable inferences drawn from such evidence, you

 must be unanimously satisfied of the guilt of the defendant beyond

 a reasonable doubt as to a particular Count before you may convict

 him of that Count.

         C.     Direct and Circumstantial Evidence5

         As I have just instructed you, evidence comes in various

 forms, such as sworn testimony of witnesses and exhibits.                         There

 are,    in     addition,    different      types     of    evidence    that    you    may

 consider: both direct and circumstantial.

              1. Direct Evidence:         Direct evidence is physical evidence

                or   testimony     about     a    fact     by   an   eyewitness    or    a

                participant who testifies to knowing that fact through

                one of the five senses.

              2. Circumstantial Evidence:             Circumstantial evidence is

                proof   of   a    chain    of     circumstances      pointing     to   the

                existence or nonexistence of certain facts.                 That is all




 5 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),
 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); Sand, Instr.
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             there is to circumstantial evidence.           Based on the facts

             you find have been proven, you may draw reasonable

             inferences or conclusions as seem justified in light of

             your experience and common sense.              To give a simple

             example, suppose that when you came into the courthouse

             today the sun was shining and it was a nice day, but the

             courtroom blinds were drawn and you could not look

             outside. Then later, as you were sitting here, several

             people   walked    in    with    dripping     wet   umbrellas      and

             dripping wet raincoats. Because you cannot look outside

             of the courtroom and cannot see whether or not it is

             raining, you have no direct evidence that it is raining.

             But, on the combination of the facts about the dripping

             wet umbrellas and raincoats, it would be reasonable for

             you to infer that it had begun to rain. That is all there

             is to circumstantial evidence. Using your reason and

             experience,     you     infer,   from   facts       you   find     are

             established, the existence or the nonexistence of some

             other fact.     Whether a given inference should be drawn

             is entirely a matter for you, the jury, to decide.

             Please bear in mind, however, that an inference is not

             to be drawn by guesswork or speculation.

         The law makes no distinction between direct evidence and

 circumstantial       evidence,       and     you    may     consider         both.

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 Circumstantial evidence is of no less value than direct evidence,

 and you may consider either or both, and may give them such weight

 as you conclude is warranted.

 8. Use of Recordings and Transcripts6

         Audio recordings of various conversations have been admitted

 into evidence. The transcripts of the recordings have been offered

 as aids and contain the government’s interpretation of what appears

 on the audio recordings that have been received as evidence.

 However, they are not in and of themselves evidence. You alone

 should decide what appears on the recordings based on what you

 heard. If you think you heard something differently than it

 appeared on the transcript, then what you heard is controlling.

 Let me say again, you, the jury, are the sole judges of the facts.

         Whether   you   approve   or   disapprove    of   the   recording    or

 interception      of    those     conversations     may   not    enter    your

 deliberations. I instruct you that these recordings were made in

 a lawful manner, that no one’s rights were violated, that the

 government’s use of this evidence is entirely lawful, and that it

 was properly admitted into evidence at this trial.

         You must, therefore, regardless of any personal opinions,

 give this evidence full consideration along with all the other

 evidence in the case in determining whether the government has


 6 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),
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 proved beyond a reasonable doubt the guilt of the defendant. Of

 course, it is for you to decide what weight, if any, to give to

 this evidence.

         If you wish to hear any of the recordings again and any of

 the transcripts of those recordings, they will be made available

 to you during your deliberations.

 9. Use of Video Recordings7

         The government has offered evidence in the form of video

 recordings.    It is for the jury to decide what, or who, is depicted

 on the video.

         Whether you approve or disapprove of the recording of this

 video, I instruct you that the video recordings were lawfully made.

 You must, therefore, regardless of any personal opinions, give

 this evidence the weight you believe it deserves along with all

 the   other   evidence     in   the   case   in   determining   whether    the

 government has proved beyond a reasonable doubt the guilt of the

 defendant.

 10.     Use of Charts, Maps, and Summaries8

         During the course of trial there were charts, maps, and

 summaries of video compilations shown to you in order to make the



 7 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),

 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order).
 8 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),
 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); Sand, Instr.
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 other evidence more meaningful and to aid you in considering that

 evidence.     These charts, maps, and/or summaries are not direct

 evidence,    but   were    introduced    basically   as   summaries    of   the

 evidence.    They are a visual representation of information or data

 as set forth either in the testimony of a witness, the videos which

 have been shown, in a stipulation or in some documents.               They are

 admitted as aids to you.           They are not in and of themselves

 evidence.     They are intended to be of assistance to you in your

 deliberations.

         [In presenting the evidence which you have heard or seen, it

 is often easier and more convenient to utilize summary charts and

 than to place all of the relevant documents in front of you.                It

 is up to you to decide whether those charts fairly and correctly

 present the information in the testimony and the documents.                 The

 charts are not to be considered by you as direct proof of anything.

 They are merely graphic demonstrations of what the underlying

 testimony, videos, and documents are.

         To the extent that the charts conform with what you determine

 the underlying evidence to be, you may accept them.             But one way

 or the other, realize that the charts are not in and of themselves

 direct evidence.     They are merely visual aids.          They are nothing

 more.]




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 11.     Permissible inferences Drawn from the Evidence9

         During the trial you have heard the attorneys use the term

 “inference,” and in their arguments they have asked you to infer,

 on the basis of your reason, experience, and common sense, from

 one or more established facts, the existence of some other fact.

         An inference is not a suspicion or a guess. It is a reasoned,

 logical decision to conclude that a disputed fact exists on the

 basis of another fact that you know exists.

         There are times when different inferences may be drawn from

 facts, whether proved by direct or circumstantial evidence.                The

 government asks you to draw one set of inferences, while the

 defense asks you to draw another.          It is for you, and you alone,

 to decide what inferences you will draw.

         The process of drawing inferences from facts in evidence is

 not a matter of guesswork or speculation.                 An inference is a

 deduction or conclusion that you, the jury, are permitted to draw-

 but not required to draw-from the facts that have been established

 by       either    direct       or    circumstantial        evidence.       In

 drawing inferences, you should exercise your common sense.

         So, while you are considering the evidence presented to you,

 you are permitted to draw, from the facts that you find to be



 9 Adapted from Sand, Instr. 6-1 (citing Turner v. United States, 396 U.S. 398,
 406-07 (1970); Holland v. United States, 348 U.S. 121, 138-40 (1954); United
 States v. Pfingst, 477 F.2d 177, 197 (2d Cir. 1973); United States Crespo, 442
 F.2d 718, 721-22 (2d Cir. 1970)).

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 proven, such reasonable inferences as would be justified in light

 of your experience.

         Here again, let me remind you that, whether based on direct

 or       circumstantial       evidence,      or       on    the       logical,

 reasonable inferences drawn        from    such   evidence,    you    must   be

 satisfied of the guilt of the defendant beyond a reasonable doubt

 before you may convict on any of the charged counts.

 12.     Credibility of Witnesses

         As judges of the facts, you are the sole judges of the

 credibility or believability of the witnesses and the weight that

 their testimony deserves.       You should carefully scrutinize all the

 testimony    given,   the    circumstances    under    which   each    witness

 testified, and every matter in evidence that tends to show whether

 a witness is worthy of belief.

         You decision whether to believe a witness may depend on how

 that witness impressed you.          For example, how did the witness

 appear?    Was the witness candid, frank, and forthright, or did the

 witness seem evasive or suspect?            How did the way the witness

 testified on direct examination compare with the way the witness

 testified on cross-examination?        Was the witness consistent in the

 testimony given or were there contradictions?               Did the witness

 appear to know what they were talking about?                Did the witness

 strike you as someone trying to report their knowledge accurately?

 These are examples of the kinds of commonsense questions you should

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 ask yourselves in deciding whether a witness was truthful.

         How   much   you   choose   to    believe    a     witness     may   also    be

 influenced     by    the   witness’s     bias.      Does    the    witness    have   a

 relationship with the government or the defendant that may affect

 how the witness testified?          Does the witness have some incentive,

 loyalty, or motive that might cause the witness to shade the truth?

 Does the witness have some bias, prejudice, or hostility that may

 cause the witness to give you something other than a complete and

 accurate account of the facts about which the witness testified?

         You should consider whether a witness had an opportunity to

 observe the facts they testified about.              Also, you should consider

 whether the witness’s recollection of the facts holds up in light

 of all the other evidence in the case.

         In other words, what you must try to do in deciding a

 witness’s credibility is to size up the person just as you would

 in any important matter when you are trying to decide if a person

 is    truthful,      straightforward,      and   accurate         in   his   or     her

 recollection.

 13.     Interested Witnesses10

         You should also take into account any evidence that the

 witness who testified may benefit in some way from the outcome of



 10 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),

 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); Sand, Instr.
 7-3.


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 this case.       [Such an interest in the outcome creates a motive to

 testify falsely and may sway the witness to testify in a way that

 advances his own interests.]11           Therefore, if you find that any

 witness whose testimony you are considering may have an interest

 in the outcome of this trial, then you should bear that factor in

 mind when evaluating the credibility of his or her testimony and

 accept it with great care.

         This is not to suggest that every witness who has an interest

 in the outcome of a case will testify falsely.               It is for you to

 decide to what extent, if at all, the witness’s interest has

 affected or colored his or her testimony.

 14.     Failure to Name a Defendant12

         Do not be concerned that some of the persons who may have

 been involved in the events leading to this trial are not on trial.

 There is no requirement that all members of a conspiracy be

 charged, prosecuted, or tried together in the same proceeding.

 You may not draw any inference, favorable or unfavorable, towards

 the government or the Defendant, from the fact that certain people

 were not named as defendants in the indictment or that certain

 people were named as co-conspirators but not indicted.                        The

 circumstances that these people were not indicted must not play a




 11   Bracketed sentence applicable only if the defendant does not testify.
 12   Adapted from Sand, Instr. 3-4.


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 part in your deliberations.

          Whether a person should be named as a co-conspirator or

 indicted as a defendant is a matter within the sole discretion of

 the United States Attorney and the grand jury.             Therefore, you may

 not consider it in any way in reaching your verdict as to the

 Defendant.

 15.      Defendant’s Election to Testify [If Applicable]13

          In this case, Mr. Clanton did testify and he was subject to

 cross-examination like any other witness.          You should examine and

 evaluate his testimony just as you would the testimony of any

 witness with an interest in the outcome of this case.              You should

 not disregard or disbelieve his testimony simply because he is

 charged as a defendant in this case.

          I also remind you that Mr. Clanton’s decision to testify

 does not in any way shift the burden of proof to him.                 This is

 because the burden of proof beyond a reasonable doubt remains

 with the government at all times, and Mr. Clanton is presumed

 innocent.

 16.      Defendant’s Right Not to Testify [If Applicable]14

          Mr. Clanton did not testify in this case.          Under the United



 13
      Adapted from Sand, Instr. 7-4.
 14 Adapted from United States v. Jefferys, No. 19-CR-359 (KAM) (E.D.N.Y.),

 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); Sand, Instr.
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 States Constitution, a defendant has no obligation to testify or

 to present any evidence, because it is the government’s burden to

 prove Mr. Clanton guilty beyond a reasonable doubt.                        That burden

 remains with the government throughout the entire trial and never

 shifts to Mr. Clanton.          Mr. Clanton is not required to prove that

 he    is   innocent,   because     his    innocence     as    to    each    charge   is

 presumed.

         Therefore, you must not attach any significance to the fact

 that Mr. Clanton did not testify in this case.                     You must not draw

 any adverse inference against him because he did not take the

 witness stand and you may not consider or even discuss it in any

 way in your deliberations in the jury room.

 17.     Testimony of Law Enforcement Witnesses15

         During   the   trial,    you     have   heard   the    testimony       of    law

 enforcement officials.          The fact that a witness may be employed as

 a law enforcement official does not mean that his or her testimony

 is necessarily deserving of any more or any less consideration or

 greater or lesser weight than that of any ordinary witness.

         At the same time, it is quite legitimate for defense counsel

 to try to attack the credibility of law enforcement witnesses on

 the grounds that his or her testimony may be colored by a personal


 15Adapted from Sand, Instr. 7-16; United States v. Harris, No. 10-CR-712 (ILG)
 (E.D.N.Y); United States v. White, No. 09-CR-351 (E.D.N.Y.); United States v.
 Wilson, No. 08-CR-690 (BMC) (E.D.N.Y.); United States v. Spears, No. 06-CR-340
 (ARR) (E.D.N.Y.).


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 or professional interest in the outcome of the case.

         It is your decision, after reviewing the evidence, whether to

 accept the testimony of a law enforcement witness and to give to

 that testimony whatever weight, if any, you find that it deserves.

 18.     Testimony of Expert Witnesses16 [If Applicable]

         During the trial, I permitted witnesses to express their

 opinions as expert witnesses about matters at issue in the trial.

 A witness may be permitted to testify to an opinion on those

 matters about which he or she has special knowledge, skill,

 experience, and training.          Such testimony is presented to you on

 the theory that someone who is experienced and knowledgeable in

 the field can assist you in understanding the evidence or in

 reaching an independent decision on the facts.

          In weighing this opinion testimony, you may consider the

 witness’s qualifications, his or her opinions, the reasons for

 testifying, as well as all of the other considerations that

 ordinarily apply when you are deciding whether or not to believe

 a witness’s testimony. You may give the opinion testimony whatever

 weight, if any, you find it deserves in light of all of the evidence

 in this case. You should not, however, accept the testimony merely

 because I allowed the witness to testify as an expert.             Nor should

 you substitute it for your own reason, judgment, and common sense.



 16   Adapted from Sand, Instr. 7-21.

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 The determination of the facts in this case rests solely with you.

 Remember that you alone decide how much of a witness’s testimony

 to believe, and how much weight it should be given.

 19.     Testimony of Cooperating Witness17

         During the course of the trial, you heard testimony from at

 least one witness who testified pursuant to an agreement with the

 government.     Let me say a few things that you should consider

 during your deliberations on the subject of the testimony of

 cooperating witnesses.

         The government may have argued, as it is permitted to do,

 that it must take the witnesses as it finds them and that only

 people who themselves take part in criminal activity have the

 knowledge required to show criminal behavior by others.               For those

 very reasons, the law allows the use of cooperating witness

 testimony.

         Indeed, it is the law in federal courts that the testimony of

 an accomplice or co-conspirator may be enough in itself for

 conviction,    if   the    jury   finds    the   testimony    establishes     the

 defendant’s guilt beyond a reasonable doubt.              Whether or not you

 approve of the use of cooperating witness testimony to detect

 unlawful activities is not to enter into your deliberations in any

 way.


 17Adapted from Sand, Instr. 7-5; United States v. Jefferys, No. 19-CR-359 (KAM)
 (E.D.N.Y.), affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order).

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         The fact that a witness is cooperating with the government

 can be considered by you as bearing upon his or her credibility

 when deciding if the government has met its burden of proof.               It

 does not follow, however, that simply because a person has admitted

 to participating in one or more crimes, that he or she is incapable

 of giving truthful testimony.          I have given you some general

 considerations on credibility, and I will not repeat them all here.

 Nor will I repeat all of the arguments made by both sides. However,

 let me say a few things you may want to consider during your

 deliberations on the subject of cooperating witnesses.

         Like the testimony of any other witness, cooperating witness

 testimony should be given such weight as it deserves in light of

 the facts and circumstances before you, taking into account the

 witness’s demeanor and candor, the strength and accuracy of his or

 her recollection, his or her background, and the extent to which

 the testimony is or is not corroborated by other evidence in the

 case.

         You may consider whether a cooperating witness — like any

 other witness called in this case — has an interest in the outcome

 of the case, and if so, whether it has affected his or her

 testimony.

         In evaluating the testimony of cooperating witnesses, you

 should ask yourselves whether that person would benefit more by

 lying, or by telling the truth.        Was the witness’s testimony made

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 up in any way because the witness believed or hoped that he should

 or    would    somehow      receive   favorable       treatment   by    testifying

 falsely?       Or did the witness believe that his interests would be

 best served by testifying truthfully?                  If you believe that the

 witness was motivated by hopes of personal gain, was the motivation

 one that would cause the witness to lie, or was it one that would

 cause    him    to   tell   the   truth?    Did     this   motivation   color   the

 witness’s testimony?

         If you find that the testimony was false, you should reject

 it.   However, if, after a cautious and careful examination of the

 cooperating witness’s testimony and demeanor upon the witness

 stand, you are satisfied that the witness told the truth, you

 should accept it as credible and act upon it accordingly.

         Again, as with any witness, let me emphasize that the issue

 of credibility need not be decided in an all-or-nothing fashion.

 Even if you find that any witness testified falsely in one part,

 you still may accept his or her testimony in other                 parts, or you

 may disregard all of it. That is a determination entirely for you,

 the jury.

         In the same vein, you have also heard that this cooperating

 witness pleaded guilty to charges arising out of the same facts

 that are at issue in this case.                 You are instructed that you are

 to draw no conclusions or inferences of any kind about the guilt

 of the defendant on trial from the fact that a prosecution witness

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 pleaded guilty to similar charges.        The decisions of that witness

 to plead guilty was a personal decision that the witness made about

 his own guilt.     It may not be used by you in any way as evidence

 against or unfavorable to the defendant on trial here.

         Additionally, I must caution you that it is no concern of

 yours as to why the government made an agreement with a witness.

 Your sole concern is whether a witness has given truthful testimony

 here in this courtroom before you.

         You have also heard testimony that the cooperating witness in

 this case has been promised that if he testifies truthfully,

 completely and fully, the government will present to the court

 what is called a 5K1.1 letter, or a “5K letter.”             The 5K letter

 sets forth the cooperating witness’s criminal acts as well as the

 substantial assistance the witness has provided.           This is because

 the court may, but is not required to, take the government’s 5K

 letter into account when imposing a sentence on the cooperating

 witness.    In fact, whether or not a 5K letter is written, the court

 has the discretion to impose any reasonable sentence the court

 deems is appropriate, up to the statutory maximum.             Thus, while

 the decision regarding whether to write the 5K letter rests with

 the government, the final determination as to the sentence to be

 imposed rests with the court, not with the government. Ultimately,

 you should look at all of the evidence in deciding what credence

 and what weight you give to the cooperating witness.

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 20.     Witness Interviews18

         Next, there was testimony at trial that law enforcement

 officers and attorneys interviewed witnesses when preparing for

 trial.     You should not draw any unfavorable inference from that

 testimony.     To the contrary, the attorneys have an obligation to

 prepare their case as thoroughly as possible, and in the discharge

 of that responsibility properly interview witnesses in preparation

 for the trial and from time to time as may be required during the

 course of the trial.

         [Similarly, there was testimony at trial that the attorneys

 for the government questioned witnesses before a federal grand

 jury investigating the crimes with which Mr. Clanton was ultimately

 charged.     You should also not draw any unfavorable inference from

 that testimony.      The government has an obligation to investigate

 the case thoroughly, including by subpoenaing witnesses to testify

 before the grand jury and to questions witnesses before the grand

 jury.]

 21.     No Duty to Call All Witnesses, Produce All Evidence, or Use
         Particular Investigative Techniques19

         There is no duty to call all witnesses, to produce all



 18 Adapted from United States v. Jacquez de Abreu, No. 16-CR-564 (RJD)
 (E.D.N.Y.); United States v. Greebel, No. 15-CR-637 (KAM) (E.D.N.Y.); United
 States v. Mayes et al., No. 12-CR-385 (ARR) (E.D.N.Y.).
 19 Adapted from Sand, Instrs. 4.14, 3.05; United States v. Jefferys, No. 18-CR-

 359 (KAM) (E.D.N.Y.), affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary
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 evidence, or to use a particular investigative technique. Although

 the government bears the burden of proof, and although a reasonable

 doubt can arise from the lack of evidence, you are instructed that

 the government is not required to present all possible evidence

 related to the case or to produce all possible witnesses who might

 have some knowledge about the facts of the case.

         During   the   trial   you   may    have   heard   reference,   in    the

 arguments of defense counsel in this case, to the fact that certain

 investigative techniques were not used by the government.                 There

 is no legal requirement, however, that the government prove its

 case through any particular means.            Although you are to carefully

 consider the evidence presented by the government, you are not to

 speculate as to why the government used the techniques it did or

 why it did not use other techniques.               The government is not on

 trial. Law enforcement techniques are not of your concern.                   Your

 concern, as I have said, is to determine whether or not the

 evidence admitted in this trial proves the defendant’s guilt as to

 each Count beyond a reasonable doubt.

 22.     Evidence Lawfully Obtained20

         During this trial, you have heard evidence about a variety of



 20 Adapted from United States v. Pena, No. 21-CR-176 (AMD) (E.D.N.Y); United
 States v. Moeleek Harrell, et al., No. 20-CR-239 (BMC) (E.D.N.Y.); United States
 v. Pippins, No. 19-CR-378 (PKC) (E.D.N.Y.); United States v. Tunstall, No. 18-
 CR-675 (JMA) (E.D.N.Y.); United States v. Zottola, et al., No. 18-CR-609 (HG)
 (E.D.N.Y.).


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 investigative     techniques   and     methods       of    collecting     evidence,

 including     evidence     recovered        during        searches   of     certain

 residences, cell phones, and social media accounts.                     I instruct

 you that any evidence that was presented to you was obtained

 legally, and you can consider it.             The methods used to collect

 evidence or to investigate should not enter into your deliberations

 in any respect.

         You have also heard and seen evidence in the form of messages

 and other written conversations that may have been obtained without

 the knowledge of some or all of the parties to those conversations,

 including evidence obtained pursuant to searches of cell phones

 and social media accounts. Again, I instruct you that any evidence

 that was presented to you was obtained legally and you may consider

 it.

         You must, therefore, regardless of your personal opinions,

 give this evidence full consideration along with all the other

 evidence in the case in determining whether the government has

 proved Mr. Clanton’s guilt beyond a reasonable doubt.

 23.     Fleeing as Consciousness of Guilt21

         The government argues that statements or actions made by the

 defendant after his arrest may be considered as evidence of flight




 21 Adapted from United States v. Jefferys, No. 18-CR-359 (KAM) (E.D.N.Y.),
 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order).


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 and therefore evidence of consciousness of guilt.

         You may find, but are not required to find, that fleeing may

 be an admission by conduct.      Its probative value as circumstantial

 evidence of guilt depends upon the degree of confidence with which

 four inferences can be drawn: (1) from the defendant’s behavior to

 flight; (2) from flight to consciousness of guilt; (3) from

 consciousness of guilt to consciousness of guilt concerning the

 crime charged; and (4) from consciousness of guilt concerning the

 crime charged to actual guilt of the crime charged.

         Therefore, before you can use evidence of flight in your

 deliberations to determine whether the government has proven its

 case on any particular count beyond a reasonable doubt, you first

 must consider whether these four inferences can be drawn.

         After considering all of the evidence, if you find there is

 a reasonable doubt with respect to a particular charge, you should

 acquit him of that charge.

         On the other hand, if you are satisfied the government has

 proven the defendant guilty of a particular charge beyond a

 reasonable doubt of a particular charge, you should find him guilty

 of that charge.

                               II. THE CHARGES

         I will now instruct you as to the specific legal elements of

 the crimes charged in the superseding indictment, which I have

 referred to and will continue to refer to as the indictment.

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 1. Knowledge and Intent22

         Because each count in the indictment implicates the concepts

 of knowledge and intent, I will instruct you at the outset about

 these principles.

         As a general rule, the law holds persons accountable only for

 conduct they intentionally engage in.           Thus, before you can find

 a defendant guilty, you must be satisfied that the defendant was

 acting knowingly and intentionally.

         A person acts “knowingly” when he acts intentionally and

 voluntarily, and not because of ignorance, mistake, accident, or

 carelessness.     Whether a defendant acted knowingly may be proven

 by his words and conduct and by all of the facts and circumstances

 surrounding the case.

         A person acts “intentionally” when he acts deliberately and

 purposefully.      That is, a defendant’s acts must have been the

 product of his conscious, objective decision rather than the

 product of a mistake or an accident.

         To act “knowingly” or “intentionally,” the person need not be

 aware of the specific law or rule that his conduct may violate,

 but he must act with the specific intent to do whatever it is the

 law forbids.

         These issues of knowledge and intent require you to make a


 22Adapted from United States v. Morrison, No. 20-CR-216 (AMD) (E.D.N.Y.); United
 States v. Servider, No. 15-CR-174 (ENV) (E.D.N.Y.); Sand, Instrs. 3A-1, 3A-4.

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 determination about the defendant’s state of mind, something that

 is rarely proven directly.          A wise and careful consideration of

 all the circumstances of the case may, however, permit you to make

 such a determination as to the state of mind of the defendant.

 Indeed, in your everyday affairs you frequently are called upon to

 determine a person’s state of mind from his or her words and

 actions in a given circumstance.            You are asked to do the same

 here.

 2. The Indictment

         In order to place my instructions in context, I will start by

 giving you a summary of the crimes charged in the indictment.

 After summarizing the charges, I will instruct you on the details

 as to the law that you will apply to each charge in the indictment.

 And finally, I will give you further rules with respect to your

 deliberations.

         Some   counts   of   the   indictment   accuse     the    defendant   of

 violating the same statute in more than one way.                 The indictment

 may allege that the defendant violated the statute by various acts

 which are joined in the indictment by the word “and,” while the

 statute and the elements of the offense are stated using the word

 “or.”     In these instances, it is enough for a finding of guilt if

 the evidence established beyond a reasonable doubt the violation




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 of the statute by any one of the acts charged.23

         The Counts of the indictment are arranged chronologically.

 Count One charges Mr. Clanton with participating in a Hobbs Act

 Robbery Conspiracy in or about and between January 2023 and July

 2023.      Count Two charges a specific Hobbs Act robbery that took

 place on or about June 3, 2023.             Count Three charges Mr. Clanton

 with using, carrying and brandishing at least one gun in connection

 with a crime of violence, specifically the Hobbs Act robbery

 charged in Count Two.           Count Four charges Mr. Clanton with an

 attempted Hobbs Act robbery on or about June 27, 2023.             Count Five

 – like Count Two – charges Mr. Clanton with a specific Hobbs Act

 robbery on or about July 12, 2023.

         I have summarized the counts in the indictment simply to give

 you an overview of the charges. I reiterate that the indictment is

 only an accusation.        The indictment is not evidence.

         In your deliberations as to each count, you must, as a matter

 of law, consider each count of the indictment separately, and you

 must return a separate verdict on each count in which Mr. Clanton

 is charged.        Your verdict as to each count must be unanimous.

 Whether you find the defendant guilty or not guilty as to one count

 must not affect your verdict as to the other charged counts.




 23   Adapted from Sand, Instr. 3-12.

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 3. Conspiracy Generally24

         Count   One   of   the   indictment   alleges   that   the   defendant

 participated in a criminal conspiracy.           Therefore, first, I will

 instruct you on the elements of conspiracy generally.             I will then

 give you instructions on the specific law that the indictment

 charges the defendant with conspiring to violate – that is, Hobbs

 Act robbery.

         A conspiracy is an agreement by two or more persons to

 accomplish some unlawful purpose.           It is sometimes referred to as

 a criminal partnership.           The crime of conspiracy is an offense

 separate from the crime the alleged conspirators intended to

 commit.    A conspiracy is in and of itself a crime.           If a conspiracy

 exists, even if it fails to achieve its purpose, it is still

 punishable as a crime.

         The elements of the crime of conspiracy are:

         First, that two or more persons entered into the particular

 unlawful agreement charged in the conspiracy count that you are

 considering, here Count One; and

         Second, that the defendant knowingly and intentionally became

 a member of the conspiracy. In other words, that the defendant

 participated in the conspiracy with knowledge of at least some of

 the purposes or objectives of the conspiracy and with the intention


 24 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),
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 of aiding in the accomplishment of those unlawful ends.

         The first element requires that the government prove beyond

 a reasonable doubt that at least two conspirators had a meeting of

 the minds, and that they agreed to work together to accomplish the

 unlawful object of the charged conspiracy.                   In other words, one

 cannot commit the crime of conspiracy by oneself.                     Rather, the

 proof must convince you that at least two persons had joined

 together in a common criminal scheme.

         You do not have to find that the alleged members of the

 conspiracy met together and entered into any express or formal

 agreement.        You   also    do   not   have   to    find   that   the   alleged

 conspirators stated, in words or writing, what the scheme was, its

 purpose, or every detail of the scheme, or the means by which its

 purpose    was    to    be   accomplished.        It    is   sufficient     for   the

 government to show that the conspirators tacitly came to a mutual

 understanding to accomplish an unlawful act by means of a joint

 plan or common design.

         Because    conspiracy        is,    by    its    very     nature,     often

 characterized by secrecy, you may infer its existence from the

 circumstances and the conduct of the parties and others involved.

 You may consider the actions and statements of all of these persons

 as proof that a common design existed to act together for the

 accomplishment of an unlawful purpose.             In short, you may consider

 all the evidence before you, and the reasonable inferences that

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 may be drawn from all this evidence.              Indeed, common sense would

 suggest that when people do, in fact, undertake to enter into a

 conspiracy, much is left to an unexpressed understanding.                      What

 the Government must prove beyond a reasonable doubt is that there

 was a mutual understanding, either spoken or unspoken, between two

 or more people to cooperate with each other to accomplish an

 unlawful act by means of a joint plan or common design.

         The second element requires that the government prove that

 the defendant was a member of that conspiracy.                 That is, if you

 find a conspiracy existed, you must determine whether the defendant

 knowingly     and    intentionally      became     a     participant      in    the

 conspiracy.      I   have    already   instructed      you    as   to   the    terms

 “knowingly”    and   “intentionally,”       and    you    should    apply      those

 instructions here.         Proof of a financial interest in the outcome

 of a scheme is not essential, although if you find that a defendant

 did have a financial interest in the outcome of a scheme, you may

 consider that as evidence of a defendant’s motive to join the

 conspiracy.

         As I have already instructed you, a defendant’s knowledge is

 a matter of inference from the facts proved.                 To become a member

 of the conspiracy, a defendant need not have known the identities

 of every member, nor need he have been informed of all of their

 activities.    A defendant need not have been fully informed of all

 the details or the scope of the conspiracy in order to justify an

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 inference of knowledge on his part.                     A defendant need not have

 joined     in    all   of    a     conspiracy’s         unlawful      objectives.         A

 conspirator’s guilt is not measured by the extent or duration of

 his participation.           In other words, the law does not require a

 defendant to play an equal role in the conspiracy as another

 defendant or conspirator.               Some conspirators may play major roles,

 while others may play minor ones. Each member may perform separate

 and distinct acts and may perform them at different times.                             Even

 a single act may be sufficient to draw a defendant within the

 circle of a conspiracy.                 A person who intentionally joins an

 existing conspiracy is charged with the same responsibility as if

 he   had   been    one      of    the    originators      or    instigators       of    the

 conspiracy.      In other words, did the defendant join the particular

 conspiracy with an awareness of at least some of the basic aims

 and purposes of the unlawful agreement?                       And did the defendant

 participate in the particular conspiracy with the intention of

 furthering its business or objectives?

         Thus, if you find that the conspiracy existed, and if you

 further find that a defendant participated in it knowingly and

 intentionally, the extent or degree of his participation is not

 material.       The government also need not prove that the defendant

 actually    committed       the     unlawful      act    or    acts    charged    as   the

 objective of the conspiracy.                Instead, the government must prove

 beyond a reasonable doubt only that the purpose of the conspiracy

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 was to commit an act or acts that are unlawful.

         I want to caution you, however, that a defendant’s mere

 presence at the scene of an alleged crime does not, by itself,

 make him a member of the conspiracy.               Similarly, mere association

 with one or more members of the conspiracy does not automatically

 make a defendant a member.             A person may know, or be friendly

 with someone who has committed a crime without committing a crime

 themselves.        Mere similarity of conduct or the fact that they may

 have assembled together and discussed common aims and interests

 does    not   necessarily       establish    proof    of    the    existence    of    a

 conspiracy.

         I   also    want   to    caution     you     that   mere      knowledge      or

 acquiescence, without participation in the unlawful plan, is not

 sufficient.         The fact that the acts of a defendant, without

 knowledge, merely happen to further the purposes or objectives of

 the conspiracy, does not make the defendant a member.                        More is

 required under the law.            What is necessary is that a defendant

 must have participated with knowledge of at least some of the

 purposes or objectives of the conspiracy and with the intention of

 aiding in the accomplishment of those unlawful ends.

         In sum, to be found guilty of conspiracy, a defendant, with

 an understanding of the unlawful nature of the conspiracy, must

 have intentionally engaged, advised or assisted in it for the

 purpose of furthering the illegal undertaking.                      In doing so he

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 thereby becomes a knowing and intentional participant in the

 unlawful agreement—that is to say, a conspirator.

 4. Count One: Hobbs Act Robbery Conspiracy25

         Count   One     of   the   indictment     charges     the    defendant

 specifically     with    conspiring    to   obstruct   interstate     commerce

 through the use of robbery in violation of section 1951 of Title

 18 of the United States Code, also known as the “Hobbs Act.”               That

 section, in pertinent part, provides:

              Whoever in any way or degree obstructs, delays, or
              affects commerce or the movement of an article or
              commodity in commerce, by robbery . . . or attempts
              or conspires so to do, or commits or threatens
              physical violence to any person or property in
              furtherance of a plan or purpose to do anything in
              violation of this section [commits a crime].

              18 U.S.C. § 1951(a).

         Specifically, the defendant is charged with conspiring to

 obstruct, delay, and affect commerce by the robbery of United

 States currency and goods from one or more operators of one or

 more commercial establishments.

         Count One reads as follows:

              In or about and between January 2023 and July 2023,
              both dates being approximate and inclusive, within
              the Eastern District of New York and elsewhere, the
              defendant TONY CLANTON, also known as “Tone,”
              LAWRENCE DOTSON and RAMEEN SMITH, also known as
              “Kream” and “Ise Kream,” together with others, did
              knowingly and intentionally conspire to obstruct,
 25 Adapted from United States v. Jefferys, No. 18-cr-359 (KAM) (E.D.N.Y.),

 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); United States
 v. Hill, No. 12-CR-214 (KAM) (E.D.N.Y.); United States v. Morrison, No. 20-CR-
 216 (AMD) (E.D.N.Y.); Sand, Instrs. 3A-1, 3A-4; 50-1 to 50-7.

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              delay and affect commerce, and the movement of
              articles and commodities in commerce, by the
              robbery of United States currency and goods from
              one or more operators of one or more commercial
              establishments.

         As I have already explained, in order to prove that the

 defendant committed the crime charged in Count One, the government

 must prove each of the following elements of conspiracy beyond a

 reasonable doubt:

         First, that two or more persons, in some way or manner, came

 to a mutual understanding to try to accomplish a common and

 unlawful plan, in this case Hobbs Act robbery – that is, to

 intentionally     obstruct,    delay,     or   affect   commerce,   and    the

 movement of articles and commodities in commerce, by agreeing to

 commit a robbery of United States currency and goods from one or

 more operators of one or more commercial establishments.

         Second, that the defendant knowingly and intentionally became

 a member of the conspiracy.

         Thus, in order for you to determine whether the government

 has proven the charged conspiracy, I need to explain the meaning

 of “robbery” under the Hobbs Act.         The Hobbs Act defines “robbery”

 as:

              The unlawful taking or obtaining of personal
              property from the person or in the presence of
              another, against his [or her] will, by means of
              actual or threatened force, or violence, or fear of
              injury, immediate or future, to his person or
              property or property in his custody or possession,
              or the person or property of anyone in his company

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               at the timing of the taking or obtaining.

               18 U.S.C. § 1951(b)(1).

         The elements of Hobbs Act robbery are:

         First, that the defendant obtained or took the personal

 property of one or more individuals;

         Second, that the defendant took this property against the

 victim’s will, by actual or threatened force, violence, or fear of

 injury, whether immediately or in the future;

         Third, that the objective of the robbery in some way or degree

 would have affected commerce over which the United States has

 jurisdiction. Even a slight effect on commerce suffices, and the

 commerce that is affected need not be lawful commerce; and

         Fourth, that the defendant acted knowingly and intentionally.

         A.    First Element: Taking the Personal Property of Another

         The   first    element   the   government   must   prove    beyond    a

 reasonable doubt is that the defendant took or obtained the

 personal property of another.          The term “property” includes money

 and other tangible and intangible things of which are capable of

 being transferred from one person to another.

         B.    Second Element: Robbery

         The   second   element   the   government   must    prove   beyond    a

 reasonable doubt is that the defendant committed robbery.              Robbery

 is the unlawful taking or obtaining of personal property from

 another, against his or her will.           This is done by threatening or

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 actually using force, violence, or fear of injury, immediately or

 in the future, to person or property.

         “Force” means violent force — that is, force capable of

 causing physical pain or injury to another person.              You should

 give the words “violence” or “fear” their common and ordinary

 meaning, and understand them as you normally would in your everyday

 lives.       The use or threat of force, violence, or fear is unlawful

 if it is aimed at causing economic or physical injury.             A threat

 may be made verbally, directly, or by implication.                Whether a

 statement or physical gesture actually was a threat depends upon

 the surrounding facts.         Fear of injury exists where a victim

 experienced anxiety, concern or worry over expected personal harm

 or business loss.

         C.     Third Element: Affecting Interstate Commerce

         If you decide that the defendant took or obtained another’s

 property by robbery, you must then decide whether the government

 has proven beyond a reasonable doubt that this action had the

 potential to affect commerce between one State and the District of

 Columbia, or commerce within one state that goes through any place

 outside the state.      The government must prove beyond a reasonable

 doubt that the acts had an effect, however minimal, on interstate

 commerce.       If you decide that there was any effect at all on

 interstate commerce, then that is enough to satisfy this element.

 The effect can be minimal. The defendant need not have anticipated

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 or intended the effect on commerce.

         D.    Fourth Element: Knowledge and Intent

         The final element that the government must prove beyond a

 reasonable      doubt    is   that   the    defendant   acted   knowingly    and

 intentionally. I have already instructed you as to what it means

 to act “knowing and intentionally” and you should apply those

 instructions here.

         I remind you that this count does not allege that a Hobbs Act

 robbery was actually committed and the government does not need to

 prove that the Hobbs Act robbery was successful. Rather, Count One

 charges the defendant with conspiring to commit a Hobbs Act

 robbery.

 5. Count Two: Hobbs Act Robbery26

         Count Two of the indictment charges the defendant with a Hobbs

 Act robbery on or about June 3, 2023.

         Count Two states:

               On or about June 3, 2023, within the Eastern
               District of New York and elsewhere, the
               defendants TONY CLANTON, also known as “Tone,”
               LAWRENCE DOTSON and RAMEEN SMITH, also known
               as “Kream” and “Ise Kream,” together with
               others, did knowingly and intentionally
               obstruct, delay and affect commerce, and the
               movement of articles and commodities in
               commerce, by the robbery of an operator of a
               smoke shop business in Staten Island, New
               York.



 26   Adapted from United States v. Hill, No. 12-CR-214 (KAM) (E.D.N.Y.).

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         I have just instructed you on the elements of Hobbs Act

 robbery and on the definitions of property, force, violence and

 fear.     I have also instructed you on the meaning of interstate or

 foreign      commerce   and    what   it     means   to   act     “knowingly     and

 intentionally.”      You should apply those instructions here.

         A.    Forms of Liability27

         In Count Two, the defendant is also charged under Section 2

 of Title 18 of the United States Code, also known as the aiding

 and abetting statute.          The aiding and abetting statute provides

 that:

               (a) Whoever commits an offense . . . or aids,
               abets, counsels, commands, induces or procures
               its commission, is punishable as a principal.

               (b)   Whoever willfully causes an act to be
               done, which if directly performed by him or
               another would be an offense against the United
               States, is punishable as a principal.

         Under this statute, for you to find a defendant guilty, it is

 not necessary for the government to show that the defendant himself

 was a principal of the crime, or someone who physically committed

 the charged crime.         This is because, under the law, a person who

 aids or abets another in committing a crime or willfully causes

 another to commit a crime is just as guilty of that crime as if he

 committed it himself—that is, as though he were a principal of the


 27 Adapted from United States v. Jefferys, No. 19-CR-359 (KAM) (E.D.N.Y.),

 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); United States
 v. Morrison, No. 20-CR-216 (AMD) (E.D.N.Y.); United States v. Servider, No. 15-
 CR-174 (ENV) (E.D.N.Y.); Sand, Instrs. 11-2, 11-3.

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 crime, as referenced in the statute.

         Accordingly, you may find a defendant guilty of the Hobbs Act

 robbery charged in Count Two if you find beyond a reasonable doubt

 that the government has proven that another person or persons

 actually physically committed the robbery, and that the defendant

 aided or abetted that person or persons in the commission of the

 robbery or caused them to commit the robbery.

         As I have indicated, the first requirement for aiding and

 abetting is that you find that another person has committed the

 crime charged.      Obviously, no one can be convicted of aiding or

 abetting criminal acts or causing another to commit criminal acts

 if no criminal acts were committed in the first place.            But if you

 do find that a crime was committed, then you must consider whether

 the defendant aided or abetted the commission of that crime or

 caused it to be committed.

         In order to aid or abet another to commit a crime, it is

 necessary that the defendant knowingly associates himself in some

 way with the crime, and that he participates in the crime by doing

 some act to help make the crime succeed.

         To establish that the defendant knowingly associated himself

 with the crime, the government must establish that the defendant

 knew and intended that the crime charged in Count Two would be

 committed.

         To   establish     that   the   defendant   participated     in    the

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 commission of the crime, the government must prove that the

 defendant knowingly engaged in some affirmative conduct or overt

 act for the specific purpose of bringing about that crime.

         Participation in a crime is willful if done voluntarily and

 intentionally and with the specific intent to do something which

 the law forbids or with the specific intent to fail to do something

 the law requires to be done, that is to say, with a bad purpose

 either to disobey or disregard the law.

         The mere presence of a defendant where a crime is being

 committed, even coupled with knowledge by the defendant that a

 crime is being committed, or merely associating with others who

 were committing a crime is not sufficient to establish aiding and

 abetting. One who has no knowledge that a crime is being committed

 or is about to be committed but inadvertently does something that

 aids in the commission of that crime is not an aider and abettor.

 An aider and abettor must know that the crime is being committed

 and act in a way that is intended to bring about the success of

 the criminal venture.

         B.    Willfully Causing a Crime to Be Committed28

         With respect to willfully causing a crime to be committed,

 the phrase “willfully caused” does not mean that the defendant

 himself need have physically committed the robberies or supervised



 28   Adapted from Sand, Instr. 11-3.

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 or participated in the actual criminal conduct charged in the

 indictment.

         The meaning of the term “willfully caused” can be found in

 the answers to the following questions:

         First, did the defendant know that a Hobbs Act robbery was

 going to occur?       That is, did he know that a victim’s personal

 property was going to be obtained against that victim’s will, by

 use of actual or threatened force, violence, or fear of injury,

 and intend for that crime to occur?

         Second, did the defendant intentionally cause another person

 to obtain a victim’s personal property against that victim’s will

 by use of actual or threatened force, violence, or fear of injury?

         If you are persuaded beyond a reasonable doubt that the

 answer to both of these questions is “yes,” then the defendant

 is guilty of the crime charged just as if he himself had

 physically committed it and you should find that that defendant

 committed Hobbs Act robbery with respect to that count.

 6. Count Three: Use of a Firearm29

         Count Three of the indictment charges the defendant with using

 and carrying a firearm during and in relation to, and possessing



 29 Adapted from United States v. Jefferys, No. 19-CR-359 (KAM) (E.D.N.Y.),

 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); United States
 v. Pena, No. 21-CR-176 (AMD) (E.D.N.Y); United States v. Morrison, No. 20-CR-
 216 (AMD) (E.D.N.Y.); United States v. Jean, No. 19-CR-123 (JS); Sand, Instrs.
 19-13, 35-85 to 35-90. See also United States v. Hill, 832 F.3d 135 (2d Cir.
 2016) (Hobbs Act robbery is a crime of violence).

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 a firearm in furtherance of, a crime of violence, specifically,

 the Hobbs Act robbery charged in Count Two.

         Count Three States:

              On or about June 3, 2023, within the Eastern
              District of New York and elsewhere, the defendants
              TONY CLANTON, also known as “Tone,” LAWRENCE DOTSON
              and RAMEEN SMITH, also known as “Kream” and “Ise
              Kream,” together with others, did knowingly and
              intentionally use and carry one or more firearms
              during and in relation to a crime of violence, to
              wit: the crime charged in Count Two, and did
              knowingly and intentionally possess such firearms
              in furtherance of said crime of violence, one or
              more of which firearms was brandished.

         I instruct you that Section 924(c)(1)(A)(ii) of Title 18 of

 the United States Code states in pertinent part:

              [A]ny person who, during and in relation to any
              crime of violence . . . for which the person may be
              prosecuted in a court of the United States, uses or
              carries a firearm, or whoever possesses a firearm
              in furtherance of such a crime [shall be guilty of
              a crime].

              Title 18 U.S.C. 924(c)(1)(A)(ii).

         If you find that the government has failed to sustain its

 burden of proof as to Count Two, then you will not proceed to Count

 Three.    In order to find the defendant guilty of the crime charged

 in Count Three, you must find the defendant guilty of the predicate

 crime charged in Count Two, Hobbs Act robbery, and that during and

 in   relation   to   the   commission     of   that   crime,   the   defendant

 knowingly used and carried a firearm.

         In order to prove the crime of using and carrying a firearm


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 in relation to a crime of violence, the government, initially,

 must establish the following two elements beyond a reasonable

 doubt:

         First, that the defendant committed a crime of violence for

 which he might be prosecuted in a court of the United States; and

         Second, that the defendant either knowingly and intentionally

 used or carried a firearm during and in relation to the commission

 of the crime of violence, or knowingly and intentionally possessed

 a firearm in furtherance of that crime, or aided and abetted

 another person doing so.

         A.   First Element: Commission of a Crime of Violence

         As to the first element, the government must prove that the

 defendant committed a crime of violence for which he might be

 prosecuted in a court of the United States. I instruct you that

 the crime charged in Count Two, Hobbs Act robbery, is a crime of

 violence.      However,    it   is   for    you   to   determine   whether   the

 government has proven beyond a reasonable doubt that the defendant

 committed that crime.       If you find that the government failed to

 prove the defendant’s guilt as to Count Two, then you must find

 the defendant not guilty of Count Three as well.             If, however, you

 find the defendant guilty of Count Two, then the crime of violence

 element is satisfied as to the defendant.




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         B.   Second Element: Use, Carrying, or Possession of a
              Firearm

         As to the second element, the government must prove beyond a

 reasonable     doubt      that   the     defendant        either    knowingly    and

 intentionally used or carried a firearm during and in relation to

 the   commission     of    the   crime       of    violence,   or   knowingly    and

 intentionally possessed a firearm in furtherance of the crime.

         A “firearm” is any weapon which will or is designed to or may

 readily be converted to expel a projectile by the action of an

 explosive.     The term also includes the frame or receiver of any

 such weapon, or any firearm silencer or muffler, or destructive

 device.

         To prove this second element beyond a reasonable doubt, the

 government must prove either “use,” “carrying,” or “possession.”

         To prove that the defendant “used” the firearm, the government

 must prove beyond a reasonable doubt an active employment of the

 firearm by the defendant during and in relation to the commission

 of the crime of violence.         This does not mean that the defendant

 must actually fire or attempt to fire the weapon, although those

 would    obviously     constitute      use    of    the   weapon.     Brandishing,

 displaying, or even referring to the weapon so that others present

 knew that the defendant had the firearm available if needed all

 constitute use of the firearm.           However, the mere possession of a

 firearm at or near the site of the crime without active employment


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 as I just described it is not sufficient to constitute a use of

 the firearm.

         To   prove   that   the   defendant    “carried”   the   firearm,   the

 government must prove beyond a reasonable doubt that the defendant

 had the weapon within his control in such a way that it furthered

 the commission of the crime of violence or was an integral part of

 the commission of the crime.           The defendant did not necessarily

 have    to    hold   the    firearm   physically,   that   is,   have   actual

 possession of it on his person.              If you find that the defendant

 had dominion and control over the place where the firearm was

 located, and had the power and intention to exercise control over

 the firearm in such a way that it furthered the commission of the

 crime of violence, you may find that the government has proven

 that the defendant carried the weapon.

         To prove that the firearm was used or carried “during and in

 relation to” the commission of a crime of violence, the government

 must prove that it was an integral part of the commission of the

 crime, and that it furthered or facilitated the crime; it is not

 sufficient if the carrying was inadvertent, coincidental, or for

 some purpose other than furthering or facilitating the crime.

         As I told you, the second element may also be satisfied by

 proof that the defendant “possessed” the firearm in furtherance of

 a crime of violence.          To prove that the defendant possessed the

 firearm in furtherance of the crime, the government must prove

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 that the defendant had possession of the firearm and that such

 possession was in furtherance of that crime.                        Possession means

 that defendant either had physical possession of the firearm on

 his person or that he had dominion and control over the place where

 the firearm was located and had the power and intention to exercise

 control over the firearm.              To possess a firearm in furtherance of

 the crime means that the firearm helped forward, advance or promote

 the commission of the crime.                The mere possession of the firearm

 at the scene of the crime is not sufficient under this definition.

 The firearm must have played some part in furthering the crime in

 order for this element to be satisfied.

         Finally, to satisfy this element, you must also find that the

 defendant          carried   or      possessed    the     firearm     knowingly       and

 intentionally. I have already instructed you on what is meant by

 “knowingly”         and    “intentionally”       and    you   should       apply   those

 instructions here.           In this context, though, it also means that

 the defendant knew that the weapon was a firearm; however, the

 government is not required to prove that he knew he was breaking

 the law.

         C.     Aiding and Abetting

         You may also find a defendant guilty of Count Three if the

 government has proven beyond a reasonable doubt that the defendant

 aided and abetted another person in using or carrying a firearm

 during       and    in    relation    to,   or   in     possessing     a    firearm   in

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 furtherance of, a crime of violence.                       There are specific rules

 governing the application of the aiding and abetting theory to

 Count Three.            In determining whether a defendant is guilty as an

 aider and abettor, you must follow the general instructions on

 aiding and abetting that I have already given you, as well as the

 additional instructions I will give you now.

         However, you may not find the defendant guilty of aiding and

 abetting the use or carrying of a firearm unless you first find

 that he is guilty of the underlying crime charged in Count Two.

 Additionally, it is not enough for the government to simply show

 that    the    defendant      aided       and    abetted        another    person    in   the

 commission of the underlying offense.                     The government must prove

 beyond a reasonable doubt that the defendant performed some act

 that directly facilitated or encouraged the other perpetrator in

 the use or carrying of a firearm.                       That is, the defendant must

 have actively assisted the other person in using or carrying the

 firearm so that he could commit the specific crime of violence

 charged in Count Two.

         Additionally,        in    this    context,       a     person     acts   with    the

 requisite intent if he had advance knowledge that a co-conspirator

 would use or carry a firearm during and in relation to, or possess

 a   firearm        in   furtherance       of,    a    crime     of   violence.       Advance

 knowledge means knowledge at a time when the person can still

 attempt       to    alter   the    plan     or       withdraw    from     the   conspiracy.

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 Knowledge of the firearm may, but does not have to, exist before

 the underlying crime is begun.          It is sufficient if the knowledge

 is gained in the midst of the underlying crime, as long as the

 individual continues to participate in the crime after having a

 realistic opportunity to withdraw.           You may, but are not required

 to, infer that a defendant had sufficient advance knowledge if you

 find that the defendant continued his participation in the crime

 after learning about the use, carrying, or possession of a firearm

 by a co-conspirator.

         D.    Co-Conspirator Liability30

         If you find beyond a reasonable doubt that the defendant was

 a member of the Hobbs Act robbery conspiracy charged in Count One,

 and thus guilty on the conspiracy count, but you do not find that

 the government has satisfied its burden of proving that the

 defendant is guilty as a principal or as an aider and abettor as

 to Counts Two and Three, then you may find the defendant guilty of

 the substantive crimes charged in Counts Two and Three through

 what is known as accomplice or co-conspirator liability.             In order

 to find the defendant guilty through co-conspirator liability, you

 must find that each of the following elements is proven beyond a

 reasonable doubt for the count you are considering:

         First, that the substantive crime charged in the count you



 30   Adapted from Sand, Instr. 19-13.

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 are considering was committed (here Count Two or Count Three);

         Second, that the defendant was a member of the conspiracy

 charged in Count One;

         Third, that the crime charged in the count you are considering

 was committed pursuant to a common plan and understanding you found

 to exist among the conspirators in the conspiracy alleged in Count

 One;

         Fourth, that the defendant was a member of that conspiracy at

 the time the substantive crime charged in the count you are

 considering was committed; and

         Fifth, that the defendant could have reasonably foreseen that

 the substantive crime charged in the count you are considering

 might be committed by his co-conspirators in the conspiracy alleged

 in Count One.

         If you find all five of these elements to be proven beyond a

 reasonable doubt as to Count Two or Count Three, then you may find

 the defendant guilty of Count Two or Count Three on that basis,

 even if he did not personally participate in the acts constituting

 the crime or did not have actual knowledge of those acts.

         The reason for this rule is simply that a co-conspirator who

 commits a crime pursuant to a conspiracy is deemed to be the agent

 of the other conspirators.       Therefore, all of the co-conspirators

 must bear criminal responsibility for the commission of the crimes

 committed by its members.

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         If, however, you are not satisfied as to the existence of any

 of these five elements, then you may not find the defendant guilty

 under this particular theory of the substantive crimes charged in

 Count Two and Count Three.                You can, however, still find the

 defendant guilty of the substantive crimes in Count Two and Count

 Three if, as I have already instructed you, the government proves,

 beyond       a    reasonable    doubt,     that   the   defendant      personally

 committed, or aided and abetted the commission of, that crime.

         E.       Additional Element as to Count Three: Brandishing

         If you find a defendant guilty of Count Three, then you will

 be asked to make an additional finding.            Specifically, you will be

 asked    to      decide   whether   the    government   has   proven    beyond   a

 reasonable doubt that the firearm was brandished.                 There will be

 a separate space on the verdict sheet for you to indicate this

 finding.

         To brandish a firearm means to display all or part of the

 firearm, or otherwise make the presence of the firearm known to

 another person, in order to intimidate that person, regardless of

 whether the firearm is directly visible to that person.

                  1.   Aiding and Abetting as to Brandishing

         If you find that a defendant is guilty of aiding and abetting

 the offense of using or carrying a firearm during and in relation

 to, or possessing a firearm in furtherance of, a crime of violence,

 you must also determine if the defendant is guilty of aiding and

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 abetting the brandishing of a firearm during and in relation to

 the crime of violence.

         A defendant is guilty of aiding and abetting the brandishing

 of a firearm if he had advance knowledge that a co-conspirator

 would display or make the presence of a firearm known for purposes

 of intimidation. The defendant need not have had advance knowledge

 that a co-conspirator would actually brandish the firearm; this

 requirement    is   satisfied     if   the   defendant    knew   that   a   co-

 conspirator intended to brandish a firearm to intimidate if the

 need arose.

 7. Count Four: Attempted Hobbs Act Robbery31

         Count Four charges the defendant with attempting to commit a

 Hobbs Act robbery on or about June 27, 2023.

         Count Four reads as follows:

              On or about June 27, 2023, within the Eastern
              District of New York and elsewhere, the
              defendants TONY CLANTON, also known as “Tone,”
              LAWRENCE DOTSON and RAMEEN SMITH, also known
              as “Kream” and “Ise Kream,” together with
              others, did knowingly and intentionally
              attempt   to  obstruct,   delay   and   affect
              commerce, and the movement of articles and
              commodities in commerce, by the robbery of an
              operator of a jewelry store in Edison, New
              Jersey.

         To prove the defendant attempted to commit a Hobbs Act

 robbery, the government must establish the following two elements


 31 Adapted from United States v. Jefferys, No. 19-CR-359 (KAM) (E.D.N.Y.),
 affirmed, 2022 WL 9627085 (2d Cir. Oct. 17, 2022) (Summary Order); Sand, Instrs.
 10-1, 10-3.

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 beyond a reasonable doubt:

         First, the defendant intended to commit a Hobbs Act robbery;

         Second, the defendant did some act that was a substantial

 step in an effort to bring about or accomplish the crime.

         As to the first element, the government must prove beyond a

 reasonable doubt that the defendant intended to commit a Hobbs Act

 robbery on or about June 27, 2023.        I have already instructed you

 on the elements of Hobbs Act robbery and on the definitions of

 property, force, violence and fear.        I have also instructed you on

 the meaning of interstate or foreign commerce and what it means to

 act   “knowingly    and    intentionally.”     You     should    apply   those

 instructions here.

         As to the second element, the government must prove that the

 defendant took a “substantial step” toward his goal of committing

 a Hobbs Act robbery on or about July 31, 2015.            Mere intention to

 commit a specific crime does not amount to an attempt.             To convict

 the defendant of an attempt, you must find beyond a reasonable

 doubt that the defendant intended to commit the crime charged, and

 that he took some action that was a substantial step toward the

 commission of that crime.

         In determining whether the defendant’s actions amounted to a

 substantial    step   toward   the   commission   of     the    crime,   it   is

 necessary to distinguish between mere preparation, on the one hand,

 and the actual doing of the criminal deed on the other. Mere

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 preparation, which may consist of planning the offense, or of

 devising, obtaining, or arranging a means for its commission, is

 not an attempt, although some preparation may amount to an attempt.

 The acts of a person who intends to commit a crime will constitute

 an attempt when the acts themselves clearly indicate an intent to

 commit the crime, and the acts are a substantial step in a course

 of conduct planned to culminate in the commission of the crime.

         A.   Aiding and Abetting

         In Count Four, the defendant is also charged under Section

 2 of Title 18 of the United States Code, also known as the

 aiding and abetting statute.       I have already instructed you on

 liability as an aider and abettor, as well as co-conspirator

 liability.     You should apply those instructions here.

 8. Count Five: Hobbs Act Robbery

         Count Five of the Indictment charges the defendants with Hobbs

 Act robbery on or about July 12, 2023.         Count Five states:

              On about July 12, 2023, within the Eastern District
              of New York and elsewhere, the defendant TONY
              CLANTON, also known as “Tone,” and RAMEEN SMITH,
              also known as “Kream” and “Ise Kream,” together
              with others, did knowingly and intentionally
              obstruct, delay and affect commerce, and the
              movement of articles and commodities in commerce,
              by the robbery of an operator of an ice-cream
              business in Brooklyn, New York.

         I have already instructed you on the elements of Hobbs Act

 robbery and on the definitions of property, force, violence and

 fear.     I have also instructed you on the meaning of interstate or

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 foreign     commerce    and    what    it    means   to   act     “knowingly     and

 intentionally.”      You should apply those instructions here.

         I have also already instructed you on liability as an aider

 and abettor, as well as co-conspirator liability. You should apply

 those instructions here.

                           III. CLOSING INSTRUCTIONS

         I will now give you some final instructions before you are

 to return to the jury room to deliberate.

 1. Duty to Deliberate; Punishment

         All of you have a duty to deliberate. Your function, to reach

 a unanimous and fair conclusion from the law and the evidence, is

 an important one.          When you retire to the jury room, you may

 finally discuss this case.            It is, in fact, the duty of each of

 you to consult with your fellow jurors and to deliberate with a

 view of reaching agreement on a unanimous verdict, if you can do

 so without violating your individual judgment and conscience.                     In

 the   course    of     your   deliberations,     no   one   should       surrender

 conscientious beliefs of what the truth is and what the weight and

 effect of the evidence is.          Moreover, each of you must decide the

 case for yourself and not merely acquiesce in the conclusion of

 your fellow jurors.           Nevertheless, I do ask you to examine the

 issues and evidence before you with candor and frankness, and with

 a proper deference to and regard for the opinions of one another.

 Do not hesitate to change your opinions if you become convinced

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 that they were wrong.

         I instruct you that the question of possible punishment of

 the defendant is of no concern to the jury and should not, in any

 way, enter into or influence your deliberations.                Your sole role

 is to decide whether the government has proven beyond a reasonable

 doubt, the charges in this case.             The duty of imposing sentence

 rests exclusively with the court, if the defendant is found guilty.

 Your function is to weigh the evidence in the case and to determine

 whether or not the government has proven the the defendant guilty

 on each Count beyond a reasonable doubt, solely upon the basis of

 such evidence. Under your oath as jurors, you cannot allow a

 consideration of the punishment that may be imposed upon the

 defendant, if you find him guilty, to influence your verdict in

 any way, or in any sense enter into your deliberations.

         In   addition,     during    your    deliberations,    you    must    not

 communicate with or provide any information to anyone by any means

 about this case.         You may not use an electronic device or media,

 such as a telephone, cellphone, smartphone, iPhone, Blackberry,

 smartwatch, computer, the internet, any internet service, any text

 or instant messaging service, any internet chatroom, blog, or

 website      such   as   Facebook,   LinkedIn,    YouTube,    or   Twitter,    to

 communicate to anyone any information about this case or to conduct

 any research about this case until I accept your verdict. In other

 words, you cannot talk to anyone on the phone, correspond with

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 anyone, or electronically communicate with anyone about this case.

 You may only discuss this case in the jury room with all of your

 fellow jurors during deliberations.                All jurors must be present

 when you deliberate.            So if one of you steps out to use the

 restroom,      you   must     stop   your    deliberations    until   that   juror

 returns.

 2. Unanimous Verdict Required

         I reiterate that your verdict must be unanimous.                  That is,

 with respect to each Count, you must all agree as to whether your

 verdict is guilty or not guilty.

 3. Consider Only the Charges32

         The defendant is not charged with committing any offenses

 other than the offenses contained in the indictment.                      You have

 heard evidence of other acts allegedly committed by the defendant

 as direct evidence of the conspiracy charged in Count One or for

 you     to   consider   the    defendant’s       motive,   opportunity,    intent,

 preparation, knowledge, identity, plan, absence of mistake or

 accident.       You are only to return a verdict as to each charge

 contained in the indictment.

 4. Selection of a Foreperson

         When you retire to the jury room, you will choose one member

 of your jury as your foreperson.                 That person will preside over




 32   Adapted from Sand, Instrs. 3-3.

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 the deliberations and speak for you here in open court.                   So that

 that your deliberations may proceed in an orderly fashion, you

 must have a foreperson, but of course, the foreperson’s vote and

 views are not entitled to any greater weight than that of any other

 juror. That person is simply a kind of organizer, a communications

 conduit between the jury and the court.

 5. Communications with the Court

         If   it   becomes   necessary        during    your   deliberations     to

 communicate with me for any reason, simply send me a note signed

 and dated by your foreperson or by one or more members of the jury.

 No member of the jury should ever attempt to communicate with me

 or any court personnel by any means other than a signed writing.

 I will not communicate with any member of the jury on any subject

 touching on the merits of this case other than in writing or orally

 here in open court.         In your note, do not ever disclose how the

 jury stands numerically or otherwise on the question of whether

 the defendant is guilty or not guilty.               Just stick to the question

 that you need to have answered.

 6. Right to See         Exhibits    and       Have     Testimony   Read    During
    Deliberations

         You will have most of the exhibits and a list of exhibits

 received in evidence during the trial in the jury room with you.

 If you wish to have any portion of the testimony repeated, you may

 simply indicate that in a note.               But please be as specific as


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 possible if you make a request to hear testimony read back.               Let

 us know which exhibit or which part of which specific witness’s

 testimony you want to hear; if you can, provide the name of the

 witness and subject matter of his or her testimony.               Please be

 patient while we locate it.        You will have these instructions in

 the jury room during your deliberations but if you need further

 instructions on any point of law, you should request that in a

 signed note.

 7. Return of the Verdict

         When you all have reached a unanimous verdict, simply send me

 a note signed by your foreperson that states that you have reached

 a unanimous verdict.       But do not indicate in the note what your

 verdict is.

         To report a verdict, you must be unanimous in all respects,

 and you must be prepared to render a verdict for each count with

 which the defendant is charged in the indictment.

         To help you, I have prepared a verdict sheet that may be of

 assistance to you in your deliberations.        On the verdict sheet are

 spaces marked “guilty” or “not guilty” for each count.            The sheet

 is in no way intended to indicate how you must deliberate or decide

 the facts in this case.      The foreperson should use a checkmark in

 the appropriate space indicating either “guilty” or “not guilty”

 for each count of the indictment with which the defendant is

 charged.     There may be other questions that the foreperson should

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 check.     The foreperson should also place his or her initials and

 the date beside each check mark on the verdict sheet and should

 then sign and date the verdict sheet.

 8. Conclusion

         Finally, I want to remind all of you of the oath that you

 took when you were sworn as a juror at the beginning of this case.

 Remember in your deliberations that this case is no passing matter

 for the government or for the defendant. The parties and the court

 rely upon you to give full and conscientious deliberation and

 consideration to the issues and evidence before you.           By so doing,

 you carry out to the fullest extent your oaths as jurors:            to well

 and truly try the issues of this case and a true verdict render.

         Before asking you to retire and begin your deliberations, I

 will consult with counsel to be certain that I have not overlooked

 any points.




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